          Case 1:20-cv-02957-LGS Document 21 Filed 01/11/21 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

CURT HERRERA,
                                Plaintiff,                          20 Civ. 2957 (LGS)

                    -against-                                       93 Crim. 203 (LGS)
UNITED STATES OF AMERICA,                                                ORDER
                                Respondent.

LORNA G. SCHOFIELD, United States District Judge:

       WHEREAS, Plaintiff has filed a letter motion requesting the Court appoint counsel to

assist him in moving for a sentence reduction due to risks associated with the COVID-19

pandemic (Case No. 20 Civ. 2957, Dkt. No. 20). It is hereby

       ORDERED that by January 22, 2021, the U.S. Attorney’s Office shall file a letter

response. No reply shall be filed.

       The Clerk of Court is respectfully directed to (1) electronically notify the Criminal

Division of the U.S. Attorney’s Office for the Southern District of New York that this order has

been issued; (2) mail a copy of this order to pro se Plaintiff and (3) docket this order and

Plaintiff’s letter motion in the criminal case, No. 93 Crim. 203.

       All further papers filed or submitted for filing must include the criminal docket number

and will be docketed in the criminal case.


Dated: January 11, 2021
       New York, New York
